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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 Oscar Marin and Filemon Marin, individually and
                                                                           Case No. 1:15-cv-3204
 on behalf of other employees similarly situated,
 Plaintiffs
                                                                              Hon. Judge Kennelly
 v.
 Coronet Construction, Inc., and Grzegorz Urbanek,
                                                                  Hon. Magistrate Judge Rowland
 individually, Defendants

                            JOINT STIPULATION OF DISMISSAL

       The parties to the above entitled action, by their respective attorneys, and pursuant to Fed.

R. Civ. P. 41(a)(1), stipulate the following:

1.   The parties have reached a settlement of the above-captioned action.

2.   The parties therefore stipulate that this matter shall be dismissed in its entirety, without

prejudice, with each party incurring its own attorneys’ fees and costs, except as otherwise provided

for by the parties’ settlement agreement.

3.   On May 13, 2016, absent a motion by either party to enforce the settlement agreement, the

dismissal of this matter shall convert automatically to a dismissal with prejudice.



Respectfully submitted,

 s/ Raisa Alicea                                   s/ Markian B Lewun
 Raisa Alicea                                      Markian B. Lewun
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